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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION
In re:

NAYDA MARTINEZ                                                        CASE NO. 24-12036-SMG
GUSTAVO CARDENAS                                                      CHAPTER 13
                  Debtors.
_______________________________/

                          OBJECTION TO CONFIRMATION OF PLAN

         Creditor, Specialized Loan Servicing, LLC as servicing agent for Deutsche Bank National

Trust Company, as Indenture Trustee for Terwin Mortgage Trust 2006-12SL Asset-Backed

Securities, Series 2006-12SL, files its Objection to Confirmation of Plan and states:

         1.     Creditor holds a note secured by a mortgage on the property located at 4351 SW

22nd Street, Fort Lauderdale, Florida 33317.

         2.     Creditor is in the process of timely filing a Proof of Claim in the estimated amount

of $160,944.94, including a secured arrearage of $119,851.28.

         3.     Debtors’ Plan indicates an intention to mediate with Creditor through the Mortgage

Modification Mediation Program; however, an appropriate motion has not been filed, as of the

date of this Objection.

         4.     If a mediation commences and results in an impasse or denial of the modification

application, Creditor’s Proof of Claim should be in paid in full or the property surrendered.

         5.     Moreover, Debtors’ Plan should account for future taxes and insurance during the

pendency of the potential mediation.

         WHEREFORE, Creditor, respectfully requests the Court sustain this Objection and for

such other and further relief as the Court deems appropriate.

                                                      /s/ Gavin N. Stewart
                                                      Gavin N. Stewart, Esquire
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                                                   Counsel for Creditor

                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by CM/ECF notice

and first class mail this 8th day of March 2024.

                                                   /s/ Gavin N. Stewart
                                                   Gavin N. Stewart, Esquire
VIA FIRST CLASS MAIL
Nayda Martinez
Gustavo Cardenas
4351 SW 22ND ST
Fort Lauderdale, FL 33317

VIA CM/ECF NOTICE
Jose A. Blanco
Jose A. Blanco, P.A.
102 E 49th ST
Hialeah, FL 33013

Robin R. Weiner
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355

U.S. Trustee
Office of the US Trustee
51 S.W. 1st Ave.
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Miami, FL 33130
